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                                         U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                     86 Chambers Street
                                                     New York, New York 10007
                              10/16/2020
                                                     October 16, 2020
By ECF
Hon. Robert W. Lehrburger
United States Magistrate Judge
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007-1312

               Re:     Benitz v. Commissioner of Social Security, No. 20 Civ. 5026 (RWL)

Dear Judge Lehrburger:

              This Office represents Andrew M. Saul, the Commissioner of Social Security (the
“Commissioner”), the defendant in the above-referenced action, which the plaintiff brought
pursuant to 42 U.S.C. § 405(g) to challenge a decision to deny her application for disability
benefits.

                I respectfully write to request a 60-day extension of time for the Commissioner to
file the certified administrative record in this case, from October 19, 2020, to December 18,
2020. The extension is necessary because of delays in preparing the certified administrative
record due to temporary workplace changes implemented by the Social Security
Administration’s Office of Appellate Operations (“OAO”) in response to the COVID-19
pandemic. These changes have significantly impacted the operations of OAO and materially
affected its ability to prepare certified administrative records, including obtaining transcriptions
of hearing recordings from private contractors. As a result, additional time is needed to prepare
the certified administrative record in this case.

                 The plaintiff consents to this request for an extension, and this is the
Commissioner’s first request for an extension in this case. I thank the Court for its consideration
of this request.

                                              Respectfully,
                                              AUDREY STRAUSS
                                              Acting United States Attorney
                                              /s/ Amanda F. Parsels
                                      BY:     AMANDA F. PARSELS
                                              Assistant United States Attorney
                                              Tel.: (212) 637-2780
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cc: Charles E. Binder, Esq. (by ECF)
    Attorney for Plaintiff




             60-day extension granted; subsequent dates extended similarly.




                                   10/16/2020
